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     Lexmark International, Inc.
13
                               UNITED STATES DISTRICT COURT
14
                            NORTHERN DISTRICT OF CALIFORNIA
15
                                     SAN FRANCISCO DIVISION
16
17   NUANCE COMMUNICATIONS, INC., )                     Case No. CV 08-02912 JSW
                                  )
18            Plaintiff,          )
                                  )                     STIPULATION ALLOWING
19         v.                     )                     LEXMARK INTERNATIONAL, INC.
                                  )                     TO AMEND ITS AMENDED
20   ABBYY SOFTWARE HOUSE,        )                     ANSWER TO ADD AFFIRMATIVE
     ABBYY USA SOFTWARE HOUSE,    )                     DEFENSES
21   and LEXMARK INTERNATIONAL, )
     INC.,                        )
22                                )
              Defendants.         )
23                                )
                                  )
24
25             WHEREBY, the plaintiff, Nuance Communications, Inc. (“Nuance”) has consented in
26
     writing to a request by Lexmark to amend its answer to add the following affirmative defenses, as set
27
28                                                                         STIPULATION TO AMEND LEXMARK’S
     4386461                                          -1-                 AMENDED ANSWER TO ADD DEFENSES
                                                                                     Case No. CV-08-02912 (JSW)
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     forth in the proposed Second Amended Answer and Counterclaims of Lexmark International, Inc.
 1
 2   attached as Exhibit A:

 3
 4                                     SIXTH AFFIRMATIVE DEFENSE
 5             Nuance’s claims against Lexmark are barred in whole or in part by express or implied
 6
     licenses and/or by the doctrine of patent exhaustion.
 7
                                     SEVENTH AFFIRMATIVE DEFENSE
 8
               Nuance’s claims against Lexmark are statutorily limited by 35 U.S.C. § 286 and/or Nuance’s
 9
10   failure to comply with one or more provisions of 35 U.S.C. § 287.

11                                    EIGHTH AFFIRMATIVE DEFENSE
12             Any claims for injunctive relief against Lexmark are barred in light of the fact that Nuance
13
     has an adequate remedy at law.
14
15
16
17             THEREFORE, pursuant to the consent provision of Fed.R.Civ.P. 15(a)(2), the parties

18   stipulate that Lexmark may amend its answer to add the above-identified affirmative defenses, as set

19   forth in the proposed Second Amended Answer and Counterclaims of Lexmark International, Inc.
20   attached as Exhibit A.
21
               ACCORDINGLY, pursuant to Fed.R.Civ.P. 15(a)(2), and particularly the consent provision
22
     thereof, Lexmark may amend its answer to add the above-identified affirmative defenses, as set forth
23
     in the proposed Second Amended Answer and Counterclaims of Lexmark International, Inc.
24
25   attached as Exhibit A.

26
27
28                                                                             STIPULATION TO AMEND LEXMARK’S
     4386461                                             -2-                  AMENDED ANSWER TO ADD DEFENSES
                                                                                         Case No. CV-08-02912 (JSW)
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     Dated: October 1, 2008              LEXMARK INTERNATIONAL, INC.
 1
 2                                       By its attorneys,

 3                                         /s/ Eugene A. Feher

 4                                       Eugene A. Feher
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 5                                        AND POPEO, P.C.

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 9
10
11
12   Dated: October 1, 2008              ABBYY USA SOFTWARE HOUSE
13                                       By its attorneys,
14
                                          /s/ Grant E. Kinsel
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                                         Attorneys for Defendant Abbyy USA Software House
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27
28                                                               STIPULATION TO AMEND LEXMARK’S
     4386461                                 -3-                 AMENDED ANSWER TO ADD DEFENSES
                                                                           Case No. CV-08-02912 (JSW)
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 1
 2   Dated: October 1, 2008              NUANCE COMMUNICATIONS, INC.

 3                                       By its attorneys,

 4                                        /s/ Tung-On Kong
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 6                                       Wilson Sonsini Goodrich & Rosati
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 8                                       Facsimile: 650-493-6811
 9
                                         Attorneys for Nuance Communications, Inc.
10
11
12
13
     PURSUANT TO STIPULATION,
14   IT IS SO ORDERED.

15
            October 1, 2008
16   Date: _____________                           __________________________
                                                   JEFFREY S. WHITE
17                                                 United States District Court

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28                                                                 STIPULATION TO AMEND LEXMARK’S
     4386461                                 -4-                  AMENDED ANSWER TO ADD DEFENSES
                                                                            Case No. CV-08-02912 (JSW)
